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12    SMARTPHONE LLC

13                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION

15 NEONODE SMARTPHONE LLC,                                  Case No. 3:21-cv-8872-EC
                             Plaintiff,
16                                                          JOINT NOTICE OF CASE STATUS
             v.
17                                                          District Judge: Hon. Edward M. Chen
18   APPLE INC.,                                            Magistrate Judge: Hon. Laurel Beeler
                                 Defendant.
19                                                           Hearing Date:        March 22, 2022
                                                             Hearing Time:        1:30 PM
20                                                           Courtroom:           Zoom webinar
                                                             Judge:               Hon. Edward M. Chen
21
22
23
24           Plaintiff Neonode Smartphone, LLC (“Neonode”) and Defendant Apple Inc. (“Apple”)

25   (jointly, the “Parties”) file this joint notice of case status to notify the Court that they had

26   previously agreed in the transferor court to a partial stay of this case pending final written

27   decisions in certain Inter Partes Review proceedings relating to the patents-in-suit.

28

                                                                             JOINT NOTICE OF CASE STATUS
                                                                                     Case No. 3:21-cv-8872-EC
           Case 3:21-cv-08872-EMC Document 83 Filed 12/15/21 Page 2 of 2




1           On August 11, 2021, the Parties filed a Stipulation to Stay Case Pending Final Written

2    Decision in Certain Inter Partes Review Proceedings (the “Stipulation”, attached hereto as Exhibit

3    A) while the matter was before the Western District of Texas. Civ. No. 6:20-cv-00505, Dkt. No.

4    66 (W.D. Tex. Aug. 11, 2021). The Stipulation states that the Parties agree to stay the case, with

5    the exception of any work related to discovery in Sweden, pending the final written decision in

6    IPR2021-00145 and, if rehearing is granted in IPR2021-00144, a final written decision in

7    IPR2021-00144. Rehearing was granted in IPR2021-00144 on December 3, 2021.

8           The Parties respectfully request that the Court take notice of the Stipulation and remove all

9    deadlines from the docket.

10
11   Dated: December 15, 2021                                Respectfully submitted,

12
      By: /s/ Philip J. Graves                               By: /s/ Betty Chen
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      SMARTPHONE LLC
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